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                                                   District of Columbia

Maiker Alejandro Espinoza Escalona; Jackson Manuel
Villa Wilhelm; Jorge Alberto Castillo Cerrano; Janfrank
Berrios Laguna; Alejandro Jose Pulido Castellano; Josue
De Jesus Torcati Sebrian; Walter Estiver Salazar; Hijran
Malik; Ghulam Muhammad; and MD Rayhan.




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(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))
